Case 4:19-cv-07123-PJH Document 45-8 Filed 04/02/20 Page 1 of 58




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4/2/2020                  Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                       WhatsApp  Filed
                                                                     Info 04/02/20 Page 2 of 58

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WhatsApp Legal Info



                                                                                     Key Updates

                                                                                     Terms of Service

                                                                                     Privacy Policy


                                                                                     Privacy Shield

                                                                                     IP Policy

                                                                                     Cookies

                                                                                     Payments


If you live in the European Region, WhatsApp Ireland Limited provides WhatsApp to you under
this Terms of Service and Privacy Policy.
Key Updates

Respect for your privacy is coded into our DNA. Since we started WhatsApp, we’ve built our
Services with a set of strong privacy principles in mind. In our updated Terms and Privacy
Policy you’ll find:


      Information that is easier to understand. Our updated Terms and Privacy Policy are
      easier to understand and reflect new features such as WhatsApp Calling and WhatsApp
      for web and desktop.

      We joined Facebook in 2014. WhatsApp is now part of the Facebook family of
      companies. Our Privacy Policy explains how we work together to improve our services
      and offerings, like fighting spam across apps, making product suggestions, and showing
      relevant offers and ads on Facebook. Nothing you share on WhatsApp, including your
      messages, photos, and account information, will be shared onto Facebook or any of our



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      Your messages are yours, and we can’t read them. We’ve built privacy, end-to-end
      encryption, and other security features into WhatsApp. We don’t store your messages
      once they’ve been delivered. When they are end-to-end encrypted, we and third parties
      can’t read them.

      No third-party banner ads. We still do not allow third-party banner ads on WhatsApp.

      New ways to use WhatsApp. We will explore ways for you and businesses to
      communicate with each other using WhatsApp, such as through order, transaction, and
      appointment information, delivery and shipping notifications, product and service
      updates, and marketing. For example, you may receive flight status information for
      upcoming travel, a receipt for something you purchased, or a notification when a
      delivery will be made. Messages you may receive containing marketing could include an
      offer for something that might interest you. We do not want you to have a spammy
      experience; as with all of your messages, you can manage these communications, and we
      will honor the choices you make.

      The choices you have. If you are an existing user, you can choose not to have your
      WhatsApp account information shared with Facebook to improve your Facebook ads and
      products experiences. Existing users who accept our updated Terms and Privacy Policy
      will have an additional 30 days to make this choice by going to Settings > Account.




WhatsApp Terms Of Service

Last modified: August 25, 2016 (archived versions)


WhatsApp Inc. (“WhatsApp,” “our,” “we,” or “us”) provides messaging, Internet calling, and
other services to users around the world. Please read our Terms of Service so you understand
what’s up with your use of WhatsApp. You agree to our Terms of Service (“Terms”) by
installing, accessing, or using our apps, services, features, software, or website (together,
“Services”).


NO ACCESS TO EMERGENCY SERVICES: There are important differences between
WhatsApp and your mobile and fixed-line telephone and SMS services. Our Services do
not provide access to emergency services or emergency services providers, including the
police, fire departments, or hospitals, or otherwise connect to public safety answering
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IF YOU ARE A WHATSAPP USER LOCATED IN THE UNITED STATES OR CANADA, OUR
TERMS CONTAIN A BINDING ARBITRATION PROVISION, WHICH STATES THAT, EXCEPT IF
YOU OPT OUT AND EXCEPT FOR CERTAIN TYPES OF DISPUTES, WHATSAPP AND YOU
AGREE TO RESOLVE ALL DISPUTES THROUGH BINDING INDIVIDUAL ARBITRATION,
WHICH MEANS THAT YOU WAIVE ANY RIGHT TO HAVE THOSE DISPUTES DECIDED BY A
JUDGE OR JURY, AND THAT YOU WAIVE YOUR RIGHT TO PARTICIPATE IN CLASS ACTIONS,
CLASS ARBITRATIONS, OR REPRESENTATIVE ACTIONS. PLEASE READ THE “SPECIAL
ARBITRATION PROVISION FOR UNITED STATES OR CANADA USERS” SECTION BELOW TO
LEARN MORE.



About our services

Registration. You must register for our Services using accurate data, provide your current
mobile phone number, and, if you change it, update this mobile phone number using our in-
app change number feature. You agree to receive text messages and phone calls (from us or
our third-party providers) with codes to register for our Services.


Address Book. You provide us the phone numbers of WhatsApp users and your other
contacts in your mobile phone address book on a regular basis. You confirm you are
authorized to provide us such numbers to allow us to provide our Services.


Age. You must be at least 13 years old to use our Services (or such greater age required in
your country for you to be authorized to use our Services without parental approval). In
addition to being of the minimum required age to use our Services under applicable law, if
you are not old enough to have authority to agree to our Terms in your country, your parent
or guardian must agree to our Terms on your behalf.


Devices and Software. You must provide certain devices, software, and data connections to
use our Services, which we otherwise do not supply. For as long as you use our Services, you
consent to downloading and installing updates to our Services, including automatically.


Fees and Taxes. You are responsible for all carrier data plan and other fees and taxes
associated with your use of our Services. We may charge you for our Services, including


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Privacy policy and user data

WhatsApp cares about your privacy. WhatsApp’s Privacy Policy describes our information
(including message) practices, including the types of information we receive and collect from
you and how we use and share this information. You agree to our data practices, including
the collection, use, processing, and sharing of your information as described in our Privacy
Policy, as well as the transfer and processing of your information to the United States and
other countries globally where we have or use facilities, service providers, or partners,
regardless of where you use our Services. You acknowledge that the laws, regulations, and
standards of the country in which your information is stored or processed may be different
from those of your own country.



Acceptable use of our services

Our Terms and Policies. You must use our Services according to our Terms and posted
policies. If we disable your account for a violation of our Terms, you will not create another
account without our permission.


Legal and Acceptable Use. You must access and use our Services only for legal, authorized,
and acceptable purposes. You will not use (or assist others in using) our Services in ways that:
(a) violate, misappropriate, or infringe the rights of WhatsApp, our users, or others, including
privacy, publicity, intellectual property, or other proprietary rights; (b) are illegal, obscene,
defamatory, threatening, intimidating, harassing, hateful, racially, or ethnically offensive, or
instigate or encourage conduct that would be illegal, or otherwise inappropriate, including
promoting violent crimes; (c) involve publishing falsehoods, misrepresentations, or
misleading statements; (d) impersonate someone; (e) involve sending illegal or impermissible
communications such as bulk messaging, auto-messaging, auto-dialing, and the like; or (f)
involve any non-personal use of our Services unless otherwise authorized by us.


Harm to WhatsApp or Our Users. You must not (or assist others to) access, use, copy, adapt,
modify, prepare derivative works based upon, distribute, license, sublicense, transfer, display,
perform, or otherwise exploit our Services in impermissible or unauthorized manners, or in
ways that burden, impair, or harm us, our Services, systems, our users, or others, including
that you must not directly or through automated means: (a) reverse engineer, alter, modify,

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                                    decompile, or extract code from our Services;
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          viruses or other harmful computer code through or onto our Services;
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attempt to gain unauthorized access to our Services or systems; (d) interfere with or disrupt
the integrity or performance of our Services; (e) create accounts for our Services through
unauthorized or automated means; (f) collect the information of or about our users in any
impermissible or unauthorized manner; (g) sell, resell, rent, or charge for our Services; or (h)
distribute or make our Services available over a network where they could be used by
multiple devices at the same time.


Keeping Your Account Secure. You are responsible for keeping your device and your
WhatsApp account safe and secure, and you must notify us promptly of any unauthorized
use or security breach of your account or our Services.



Third-party services

Our Services may allow you to access, use, or interact with third-party websites, apps,
content, and other products and services. For example, you may choose to use third-party
data backup services (such as iCloud or Google Drive) that are integrated with our Services or
interact with a share button on a third party’s website that enables you to send information
to your WhatsApp contacts. Please note that when you use third-party services, their own
terms and privacy policies will govern your use of those services.



Licenses

Your Rights. WhatsApp does not claim ownership of the information that you submit for your
WhatsApp account or through our Services. You must have the necessary rights to such
information that you submit for your WhatsApp account or through our Services and the
right to grant the rights and licenses in our Terms.


WhatsApp’s Rights. We own all copyrights, trademarks, domains, logos, trade dress, trade
secrets, patents, and other intellectual property rights associated with our Services. You may
not use our copyrights, trademarks, domains, logos, trade dress, patents, and other
intellectual property rights unless you have our express permission and except in accordance
with our Brand Guidelines. You may use the trademarks www.facebookbrand.com/trademarks
of our affiliated companies only with their permission, including as authorized in any
published brand guidelines.


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WhatsApp                                                                       01 license to
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use, reproduce, distribute, create derivative works of, display, and perform the information
(including the content) that you upload, submit, store, send, or receive on or through our
Services. The rights you grant in this license are for the limited purpose of operating and
providing our Services (such as to allow us to display your profile picture and status message,
transmit your messages, store your undelivered messages on our servers for up to 30 days as
we try to deliver them, and otherwise as described in our Privacy Policy).


WhatsApp’s License to You. We grant you a limited, revocable, non-exclusive, non-
sublicensable, and non-transferable license to use our Services, subject to and in accordance
with our Terms. This license is for the sole purpose of enabling you to use our Services, in the
manner permitted by our Terms. No licenses or rights are granted to you by implication or
otherwise, except for the licenses and rights expressly granted to you.



Reporting third-party copyright, trademark, and other intellectual
property infringement

To report claims of third-party copyright, trademark, or other intellectual property
infringement, please visit our Intellectual Property Policy. We may terminate your WhatsApp
account if you repeatedly infringe the intellectual property rights of others.



Disclaimers

YOU USE OUR SERVICES AT YOUR OWN RISK AND SUBJECT TO THE FOLLOWING
DISCLAIMERS. WE ARE PROVIDING OUR SERVICES ON AN “AS IS” BASIS WITHOUT ANY
EXPRESS OR IMPLIED WARRANTIES, INCLUDING, BUT NOT LIMITED TO, WARRANTIES OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE, NON-INFRINGEMENT,
AND FREEDOM FROM COMPUTER VIRUS OR OTHER HARMFUL CODE. WE DO NOT
WARRANT THAT ANY INFORMATION PROVIDED BY US IS ACCURATE, COMPLETE, OR
USEFUL, THAT OUR SERVICES WILL BE OPERATIONAL, ERROR FREE, SECURE, OR SAFE, OR
THAT OUR SERVICES WILL FUNCTION WITHOUT DISRUPTIONS, DELAYS, OR IMPERFECTIONS.
WE DO NOT CONTROL, AND ARE NOT RESPONSIBLE FOR, CONTROLLING HOW OR WHEN
OUR USERS USE OUR SERVICES OR THE FEATURES, SERVICES, AND INTERFACES OUR
SERVICES PROVIDE. WE ARE NOT RESPONSIBLE FOR AND ARE NOT OBLIGATED TO CONTROL
THE ACTIONS OR INFORMATION (INCLUDING CONTENT) OF OUR USERS OR OTHER THIRD
PARTIES. YOU RELEASE US, OUR SUBSIDIARIES, AFFILIATES, AND OUR AND THEIR

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(TOGETHER, “CLAIM”) AND DAMAGES, KNOWN AND UNKNOWN, RELATING TO, ARISING
OUT OF, OR IN ANY WAY CONNECTED WITH ANY SUCH CLAIM YOU HAVE AGAINST ANY
THIRD PARTIES. YOU WAIVE ANY RIGHTS YOU MAY HAVE UNDER CALIFORNIA CIVIL CODE
§1542, OR ANY OTHER SIMILAR APPLICABLE STATUTE OR LAW OF ANY OTHER
JURISDICTION, WHICH SAYS THAT: A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE
MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.



Limitation of liability

THE WHATSAPP PARTIES WILL NOT BE LIABLE TO YOU FOR ANY LOST PROFITS OR
CONSEQUENTIAL, SPECIAL, PUNITIVE, INDIRECT, OR INCIDENTAL DAMAGES RELATING TO,
ARISING OUT OF, OR IN ANY WAY IN CONNECTION WITH OUR TERMS, US, OR OUR
SERVICES, EVEN IF THE WHATSAPP PARTIES HAVE BEEN ADVISED OF THE POSSIBILITY OF
SUCH DAMAGES. OUR AGGREGATE LIABILITY RELATING TO, ARISING OUT OF, OR IN ANY
WAY IN CONNECTION WITH OUR TERMS, US, OR OUR SERVICES WILL NOT EXCEED THE
GREATER OF ONE HUNDRED DOLLARS ($100) OR THE AMOUNT YOU HAVE PAID US IN THE
PAST TWELVE MONTHS. THE FOREGOING DISCLAIMER OF CERTAIN DAMAGES AND
LIMITATION OF LIABILITY WILL APPLY TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE
LAW. THE LAWS OF SOME STATES OR JURISDICTIONS MAY NOT ALLOW THE EXCLUSION OR
LIMITATION OF CERTAIN DAMAGES, SO SOME OR ALL OF THE EXCLUSIONS AND
LIMITATIONS SET FORTH ABOVE MAY NOT APPLY TO YOU. NOTWITHSTANDING ANYTHING
TO THE CONTRARY IN OUR TERMS, IN SUCH CASES, THE LIABILITY OF THE WHATSAPP
PARTIES WILL BE LIMITED TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW.



Indemnification

You agree to defend, indemnify, and hold harmless the WhatsApp Parties from and against all
liabilities, damages, losses, and expenses of any kind (including reasonable legal fees and
costs) relating to, arising out of, or in any way in connection with any of the following: (a)
your access to or use of our Services, including information provided in connection therewith;
(b) your breach or alleged breach of our Terms; or (c) any misrepresentation made by you.
You will cooperate as fully as required by us in the defense or settlement of any Claim.



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Forum and Venue. If you are a WhatsApp user located in the United States or Canada, the
   17 Jul 2018 - 3 Jan 2020


“Special Arbitration Provision for United States or Canada Users” section below applies to
you. Please also read that section carefully and completely. If you are not subject to the
“Special Arbitration Provision for United States or Canada Users” section below, you agree
that you will resolve any Claim you have with us relating to, arising out of, or in any way in
connection with our Terms, us, or our Services (each, a “Dispute,” and together, “Disputes”)
exclusively in the United States District Court for the Northern District of California or a state
court located in San Mateo County in California, and you agree to submit to the personal
jurisdiction of such courts for the purpose of litigating all such Disputes.


Governing Law. The laws of the State of California govern our Terms, as well as any Disputes,
whether in court or arbitration, which might arise between WhatsApp and you, without
regard to conflict of law provisions.



Availability and termination of our services

Availability of Our Services. Our Services may be interrupted, including for maintenance,
repairs, upgrades, or network or equipment failures. We may discontinue some or all of our
Services, including certain features and the support for certain devices and platforms, at any
time. Events beyond our control may affect our Services, such as events in nature and other
force majeure events.


Termination. We may modify, suspend, or terminate your access to or use of our Services
anytime for any reason, such as if you violate the letter or spirit of our Terms or create harm,
risk, or possible legal exposure for us, our users, or others. The following provisions will
survive any termination of your relationship with WhatsApp: “Licenses,” “Disclaimers,”
“Limitation of Liability,” “Indemnification,” “Dispute Resolution,” “Availability and Termination
of our Services,” “Other,” and “Special Arbitration Provision for United States or Canada
Users.”



Other

      Unless a mutually executed agreement between you and us states otherwise, our Terms
      make up the entire agreement between you and us regarding WhatsApp and our
      Services, and supersede any prior agreements.

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       We may ask you to agree  WHATSAPP
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                                      to additional terms for certain of our Go
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      terms.

      Our Services are not intended for distribution to or use in any country where such
      distribution or use would violate local law or would subject us to any regulations in
      another country. We reserve the right to limit our Services in any country.

      You will comply with all applicable U.S. and non-U.S. export control and trade sanctions
      laws (“Export Laws”). You will not, directly or indirectly, export, re-export, provide, or
      otherwise transfer our Services: (a) to any individual, entity, or country prohibited by
      Export Laws; (b) to anyone on U.S. or non-U.S. government restricted parties lists; or (c)
      for any purpose prohibited by Export Laws, including nuclear, chemical, or biological
      weapons, or missile technology applications without the required government
      authorizations. You will not use or download our Services if you are located in a restricted
      country, if you are currently listed on any U.S. or non-U.S. restricted parties list, or for any
      purpose prohibited by Export Laws, and you will not disguise your location through IP
      proxying or other methods.

      Our Terms are written in English (U.S.). Any translated version is provided solely for your
      convenience. To the extent any translated version of our Terms conflicts with the English
      version, the English version controls.

      Any amendment to or waiver of our Terms requires our express consent.

      We may amend or update these Terms. We will provide you notice of amendments to our
      Terms, as appropriate, and update the “Last Modified” date at the top of our Terms. Your
      continued use of our Services confirms your acceptance of our Terms, as amended. If you
      do not agree to our Terms, as amended, you must stop using our Services. Please review
      our Terms from time to time.

      All of our rights and obligations under our Terms are freely assignable by us to any of
      our affiliates or in connection with a merger, acquisition, restructuring, or sale of assets,
      or by operation of law or otherwise, and we may transfer your information to any of our
      affiliates, successor entities, or new owner.

      You will not transfer any of your rights or obligations under our Terms to anyone else
      without our prior written consent.

      Nothing in our Terms will prevent us from complying with the law.

      Except as contemplated herein, our Terms do not give any third-party beneficiary rights.

      If we fail to enforce any of our Terms, it will not be considered a waiver.

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 11 of 58

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      not affect the validity and enforceability of the remaining provisions, except as set forth
      in the “Special Arbitration Provision for United States or Canada Users” — “Severability”
      section below.

      We reserve all rights not expressly granted by us to you. In certain jurisdictions, you may
      have legal rights as a consumer, and our Terms are not intended to limit such consumer
      legal rights that may not be waived by contract.

      We always appreciate your feedback or other suggestions about WhatsApp and our
      Services, but you understand that we may use your feedback or suggestions without any
      obligation to compensate you for them (just as you have no obligation to offer them).



Special arbitration provision for United States or Canada users

PLEASE READ THIS SECTION CAREFULLY BECAUSE IT CONTAINS ADDITIONAL PROVISIONS
APPLICABLE ONLY TO OUR UNITED STATES AND CANADA USERS. IF YOU ARE A
WHATSAPP USER LOCATED IN THE UNITED STATES OR CANADA, IT REQUIRES YOU TO
SUBMIT TO BINDING INDIVIDUAL ARBITRATION OF ALL DISPUTES, EXCEPT FOR THOSE
THAT INVOLVE INTELLECTUAL PROPERTY DISPUTES AND EXCEPT THOSE THAT CAN BE
BROUGHT IN SMALL CLAIMS COURT. THIS MEANS YOU ARE WAIVING YOUR RIGHT TO
HAVE SUCH DISPUTES RESOLVED IN COURT BY A JUDGE OR JURY. THIS SECTION ALSO
LIMITS THE TIME YOU HAVE TO START AN ARBITRATION OR, IF PERMISSIBLE, A COURT
ACTION. FINALLY, THIS SECTION WAIVES YOUR RIGHT TO HAVE YOUR DISPUTE HEARD
AND RESOLVED AS A CLASS ACTION, CLASS ARBITRATION, OR A REPRESENTATIVE
ACTION.


“Excluded Dispute” means any Dispute relating to the enforcement or infringement of your or
our intellectual property rights (such as copyrights, trademarks, domains, logos, trade dress,
trade secrets, and patents). For clarity and notwithstanding the foregoing, those Disputes
relating to, arising out of, or in any way in connection with your rights of privacy and publicity
are not Excluded Disputes.


Federal Arbitration Act. The United States Federal Arbitration Act governs the interpretation
and enforcement of this “Special Arbitration Provision for United States or Canada Users”
section, including any question whether a Dispute between WhatsApp and you is subject to
arbitration.

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
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Agreement
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WhatsApp                                                                   01 agree to
 10 capturesusers located in the United States or Canada, WhatsApp and you each
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waive the right to a trial by judge or jury for all Disputes, except for the Excluded Disputes.
WhatsApp and you agree that all Disputes (except for the Excluded Disputes), including those
relating to, arising out of, or in any way in connection with your rights of privacy and
publicity, will be resolved through final and binding arbitration. WhatsApp and you agree not
to combine a Dispute that is subject to arbitration under our Terms with a Dispute that is not
eligible for arbitration under our Terms.


The arbitration will be administered by the American Arbitration Association (AAA) under its
Commercial Arbitration Rules in effect at the time the arbitration is started, including the
Optional Rules for Emergency Measures of Protection and the Supplementary Procedures for
Consumer-Related Disputes (together, the “AAA Rules”). The arbitration will be presided over
by a single arbitrator selected in accordance with the AAA Rules. The AAA Rules, information
regarding initiating a Dispute, and a description of the arbitration process are available at
www.adr.org. The arbitrator will decide whether a Dispute can be arbitrated. The location of
the arbitration and the allocation of fees and costs for such arbitration shall be determined in
accordance with the AAA Rules. Notwithstanding the AAA Rules, we will reimburse you for all
the AAA administrative fees in Disputes that are subject to the Supplementary Procedures for
Consumer-Related Disputes, unless the arbitrator determines that a Dispute was filed for
purposes of harassment or is patently frivolous.


Opt-Out Procedure. You may opt out of this agreement to arbitrate. If you do so, neither we
nor you can require the other to participate in an arbitration proceeding. To opt out, you
must notify us in writing postmarked within 30 days of the later of: (i) the date that you first
accepted our Terms; and (ii) the date you became subject to this arbitration provision. You
must use this address to opt-out:


WhatsApp Inc.
Arbitration Opt-Out
1601 Willow Road
Menlo Park, California 94025
United States of America


You must include: (1) your name and residence address; (2) the mobile phone number
associated with your account; and (3) a clear statement that you want to opt out of our
Terms’ agreement to arbitrate.

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                                                      WhatsApp FiledInfo04/02/20 Page 13 of 58

Small  Claims Court.
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        rules, you may bring your Dispute in your local “small claims” court, as01
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matter advances on an individual (non-class) basis.


Time Limit to Start Arbitration. We and you agree that for any Dispute (except for the
Excluded Disputes) we and you must commence an arbitration proceeding within one year
after the Dispute first arose; otherwise, such Dispute is permanently barred. This means that if
we or you do not commence an arbitration within one year after the Dispute first arose, then
the arbitration will be dismissed because it was started too late.


No Class Actions, Class Arbitrations, or Representative Actions for Users Located in the
United States or Canada. We and you each agree that if you are a WhatsApp user located in
the United States or Canada, each of we and you may bring Disputes against the other only
on its or your own behalf, and not on behalf of any other person or entity, or any class of
people. We and you each agree not to participate in a class action, a class-wide arbitration,
Disputes brought in a private attorney general or representative capacity, or consolidated
Disputes involving any other person or entity in connection with any Dispute.


Severability. If the prohibition against class actions and other Disputes brought on behalf of
third parties is found to be unenforceable for a Dispute, then all of the provisions above
under the caption “Special Arbitration Provision for United States or Canada Users” will be
null and void as to that Dispute.


Place to File Permitted Court Actions. If you opt out of the agreement to arbitrate, if your
Dispute is an Excluded Dispute, or if the arbitration agreement is found to be unenforceable,
you agree to be subject to the “Forum and Venue” provisions in the “Dispute Resolution”
section set forth above.


Accessing WhatsApp's terms in different languages

To access our Terms in certain other languages, change the language setting for your
WhatsApp session. If our Terms are not available in the language you select, we will default to
the English version.


Please review the following documents, which provide additional information about your use
of our Services:



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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 14 of 58

WhatsApp    Privacy Policy   WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
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WhatsApp Intellectual Property Policy


WhatsApp Brand Guidelines




WhatsApp Privacy Policy

Last modified: August 25, 2016 (archived versions)


Respect for your privacy is coded into our DNA. Since we started WhatsApp, we’ve aspired to
build our Services with a set of strong privacy principles in mind.


WhatsApp provides messaging, Internet calling, and other services to users around the world.
Our Privacy Policy helps explain our information (including message) practices. For example,
we talk about what information we collect and how this affects you. We also explain the steps
we take to protect your privacy – like building WhatsApp so delivered messages aren’t stored
and giving you control over who you communicate with on our Services.


When we say “WhatsApp,” “our,” “we,” or “us,” we’re talking about WhatsApp Inc. This Privacy
Policy (“Privacy Policy”) applies to all of our apps, services, features, software, and website
(together, “Services”) unless specified otherwise.


Please also read WhatsApp’s Terms of Service (“Terms”), which describes the terms under
which you use our Services.



Information We Collect

WhatsApp receives or collects information when we operate and provide our Services,
including when you install, access, or use our Services.


Information You Provide




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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 15 of 58

       Your Account Information.WHATSAPP
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               account. You provide us the phone numbers in your mobile address
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      a regular basis, including those of both the users of our Services and your other contacts.
      You confirm you are authorized to provide us such numbers. You may also add other
      information to your account, such as a profile name, profile picture, and status message.

      Your Messages. We do not retain your messages in the ordinary course of providing our
      Services to you. Once your messages (including your chats, photos, videos, voice
      messages, files, and share location information) are delivered, they are deleted from our
      servers. Your messages are stored on your own device. If a message cannot be delivered
      immediately (for example, if you are offline), we may keep it on our servers for up to 30
      days as we try to deliver it. If a message is still undelivered after 30 days, we delete it. To
      improve performance and deliver media messages more efficiently, such as when many
      people are sharing a popular photo or video, we may retain that content on our servers
      for a longer period of time. We also offer end-to-end encryption for our Services, which
      is on by default, when you and the people with whom you message use a version of our
      app released after April 2, 2016. End-to-end encryption means that your messages are
      encrypted to protect against us and third parties from reading them.

      Your Connections. To help you organize how you communicate with others, we may
      create a favorites list of your contacts for you, and you can create, join, or get added to
      groups and broadcast lists, and such groups and lists get associated with your account
      information.

      Customer Support. You may provide us with information related to your use of our
      Services, including copies of your messages, and how to contact you so we can provide
      you customer support. For example, you may send us an email with information relating
      to our app performance or other issues.


Automatically Collected Information

      Usage and Log Information. We collect service-related, diagnostic, and performance
      information. This includes information about your activity (such as how you use our
      Services, how you interact with others using our Services, and the like), log files, and
      diagnostic, crash, website, and performance logs and reports.

      Transactional Information. If you pay for our Services, we may receive information and
      confirmations, such as payment receipts, including from app stores or other third parties
      processing your payment.



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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 16 of 58

       Device and Connection    WHATSAPP
    https://www.whatsapp.com/legal?eea=0
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                                    Information. We collect device-specificGoinformation when
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   10 install,                                                                   01 model,
      capturesaccess, or use our Services. This includes information such as hardware
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      operating system information, browser information, IP address, mobile network
      information including phone number, and device identifiers. We collect device location
      information if you use our location features, such as when you choose to share your
      location with your contacts, view locations nearby or those others have shared with you,
      and the like, and for diagnostics and troubleshooting purposes such as if you are having
      trouble with our app’s location features.

      Cookies. We use cookies to operate and provide our Services, including to provide our
      Services that are web-based, improve your experiences, understand how our Services are
      being used, and customize our Services. For example, we use cookies to provide
      WhatsApp for web and desktop and other web-based services. We may also use cookies
      to understand which of our FAQs are most popular and to show you relevant content
      related to our Services. Additionally, we may use cookies to remember your choices, such
      as your language preferences, and otherwise to customize our Services for you. Learn
      more about how we use cookies to provide you our Services.

      Status Information. We collect information about your online and status message
      changes on our Services, such as whether you are online (your “online status”), when you
      last used our Services (your “last seen status”), and when you last updated your status
      message.


Third-Party Information

      Information Others Provide About You. We receive information other people provide us,
      which may include information about you. For example, when other users you know use
      our Services, they may provide your phone number from their mobile address book (just
      as you may provide theirs), or they may send you a message, send messages to groups
      to which you belong, or call you.

      Third-Party Providers. We work with third-party providers to help us operate, provide,
      improve, understand, customize, support, and market our Services. For example, we work
      with companies to distribute our apps, provide our infrastructure, delivery, and other
      systems, supply map and places information, process payments, help us understand how
      people use our Services, and market our Services. These providers may provide us
      information about you in certain circumstances; for example, app stores may provide us
      reports to help us diagnose and fix service issues.




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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 17 of 58

       Third-Party Services. WHATSAPP
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                                 We allow you to use our Services in connection
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   10 services.                                                                 01
      captures If you use our Services with such third-party services, we may receive
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      information about you from them; for example, if you use the WhatsApp share button on
      a news service to share a news article with your WhatsApp contacts, groups, or broadcast
      lists on our Services, or if you choose to access our Services through a mobile carrier’s or
      device provider’s promotion of our Services. Please note that when you use third-party
      services, their own terms and privacy policies will govern your use of those services.



How We Use Information

We use all the information we have to help us operate, provide, improve, understand,
customize, support, and market our Services.


      Our Services. We operate and provide our Services, including providing customer
      support, and improving, fixing, and customizing our Services. We understand how people
      use our Services, and analyze and use the information we have to evaluate and improve
      our Services, research, develop, and test new services and features, and conduct
      troubleshooting activities. We also use your information to respond to you when you
      contact us. We use cookies to operate, provide, improve, understand, and customize our
      Services.

      Safety and Security. We verify accounts and activity, and promote safety and security on
      and off our Services, such as by investigating suspicious activity or violations of our
      Terms, and to ensure our Services are being used legally.

      Communications About Our Services and the Facebook Family of Companies. We
      communicate with you about our Services and features and let you know about our
      terms and policies and other important updates. We may provide you marketing for our
      Services and those of the Facebook family of companies, of which we are now a part.

      No Third-Party Banner Ads. We do not allow third-party banner ads on WhatsApp. We
      have no intention to introduce them, but if we ever do, we will update this policy.




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                                                      WhatsApp FiledInfo04/02/20 Page 18 of 58

       Commercial Messaging.    WHATSAPP
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                  with each other using WhatsApp, such as through order, transaction, and
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      appointment information, delivery and shipping notifications, product and service
      updates, and marketing. For example, you may receive flight status information for
      upcoming travel, a receipt for something you purchased, or a notification when a
      delivery will be made. Messages you may receive containing marketing could include an
      offer for something that might interest you. We do not want you to have a spammy
      experience; as with all of your messages, you can manage these communications, and we
      will honor the choices you make.



Information You And We Share

You share your information as you use and communicate through our Services, and we share
your information to help us operate, provide, improve, understand, customize, support, and
market our Services.


      Account Information. Your phone number, profile name and photo, online status and
      status message, last seen status, and receipts may be available to anyone who uses our
      Services, although you can configure your Services settings to manage certain
      information available to other users.

      Your Contacts and Others. Users with whom you communicate may store or reshare
      your information (including your phone number or messages) with others on and off our
      Services. You can use your Services settings and the block feature in our Services to
      manage the users of our Services with whom you communicate and certain information
      you share.

      Third-Party Providers. We work with third-party providers to help us operate, provide,
      improve, understand, customize, support, and market our Services. When we share
      information with third-party providers, we require them to use your information in
      accordance with our instructions and terms or with express permission from you.

      Third-Party Services. When you use third-party services that are integrated with our
      Services, they may receive information about what you share with them. For example, if
      you use a data backup service integrated with our Services (such as iCloud or Google
      Drive), they will receive information about what you share with them. If you interact with
      a third-party service linked through our Services, you may be providing information
      directly to such third party. Please note that when you use third-party services, their own
      terms and privacy policies will govern your use of those services.

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 19 of 58

Affiliated     Companies      WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
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We joined the Facebook family of companies in 2014. As part of the Facebook family of
   17 Jul 2018 - 3 Jan 2020


companies, WhatsApp receives information from, and shares information with, this family of
companies. We may use the information we receive from them, and they may use the
information we share with them, to help operate, provide, improve, understand, customize,
support, and market our Services and their offerings. This includes helping improve
infrastructure and delivery systems, understanding how our Services or theirs are used,
securing systems, and fighting spam, abuse, or infringement activities. Facebook and the
other companies in the Facebook family also may use information from us to improve your
experiences within their services such as making product suggestions (for example, of friends
or connections, or of interesting content) and showing relevant offers and ads. However, your
WhatsApp messages will not be shared onto Facebook for others to see. In fact, Facebook will
not use your WhatsApp messages for any purpose other than to assist us in operating and
providing our Services.


Learn more about the Facebook family of companies and their privacy practices by reviewing
their privacy policies.



Assignment, Change Of Control, And Transfer

All of our rights and obligations under our Privacy Policy are freely assignable by us to any of
our affiliates, in connection with a merger, acquisition, restructuring, or sale of assets, or by
operation of law or otherwise, and we may transfer your information to any of our affiliates,
successor entities, or new owner.



Managing Your Information

If you would like to manage, change, limit, or delete your information, we allow you to do
that through the following tools:


      Services Settings. You can change your Services settings to manage certain information
      available to other users. You can manage your contacts, groups, and broadcast lists, or
      use our block feature to manage the users with whom you communicate.




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                                                      WhatsApp FiledInfo04/02/20 Page 20 of 58

       Changing Your Mobile     WHATSAPP
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                                   Phone Number, Profile Name and Picture,
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      and transfer your account to your new mobile phone number. You can also change your
      profile name, profile picture, and status message at any time.

      Deleting Your WhatsApp Account. You may delete your WhatsApp account at any time
      (including if you want to revoke your consent to our use of your information) using our
      in-app delete my account feature. When you delete your WhatsApp account, your
      undelivered messages are deleted from our servers as well as any of your other
      information we no longer need to operate and provide our Services. Be mindful that if
      you only delete our Services from your device without using our in-app delete my
      account feature, your information may be stored with us for a longer period. Please
      remember that when you delete your account, it does not affect the information other
      users have relating to you, such as their copy of the messages you sent them.



Law And Protection

We may collect, use, preserve, and share your information if we have a good-faith belief that
it is reasonably necessary to: (a) respond pursuant to applicable law or regulations, to legal
process, or to government requests; (b) enforce our Terms and any other applicable terms
and policies, including for investigations of potential violations; (c) detect, investigate,
prevent, and address fraud and other illegal activity, security, or technical issues; or (d)
protect the rights, property, and safety of our users, WhatsApp, the Facebook family of
companies, or others.



Our Global Operations

You agree to our information practices, including the collection, use, processing, and sharing
of your information as described in this Privacy Policy, as well as the transfer and processing
of your information to the United States and other countries globally where we have or use
facilities, service providers, or partners, regardless of where you use our Services. You
acknowledge that the laws, regulations, and standards of the country in which your
information is stored or processed may be different from those of your own country.



Updates To Our Policy

We may amend or update our Privacy Policy. We will provide you notice of amendments to
this Privacy Policy, as appropriate, and update the “Last Modified” date at the top of this
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                                                      WhatsApp FiledInfo04/02/20 Page 21 of 58

Privacy    Policy. Your        WHATSAPP
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using our Services. Please review our Privacy Policy from time to time.



Contact Us

If you have questions about our Privacy Policy, please contact us.


WhatsApp Inc.
Privacy Policy
1601 Willow Road
Menlo Park, California 94025
United States of America




WHATSAPP INC., THE EU-U.S. PRIVACY SHIELD AND THE
SWISS-U.S. PRIVACY SHIELD

WhatsApp Inc. (“WhatsApp”) has certified to the EU-U.S. Privacy Shield Framework and the
Swiss-U.S. Privacy Shield Framework with the U.S. Department of Commerce regarding the
collection and processing of personal data from our business partners in the European Union
and Switzerland (“Partners”) in connection with the products and services described in the
Scope section below and in our certification. To learn more about the Privacy Shield program
please visit www.privacyshield.gov.


Scope: WhatsApp adheres to the Privacy Shield Principles for the following areas of our
business (collectively the “Partner Services”):


      WhatsApp Business Products: WhatsApp creates apps, services, features, APIs, software,
      or website that enable businesses to interact with users of WhatsApp's products and
      services (“Business Products”). Partners (the data controllers) may submit personal
      information about their customers to WhatsApp using WhatsApp's Business Products.
      While Partners decide what information to submit, it typically includes things like
      customer phone numbers and other information under the Partner's control. For more
      information, customers may contact the relevant Partner. WhatsApp uses the personal
      data provided by Partners to provide Business Products in accordance with the terms

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               works with its Partners to ensure that individuals are offered appropriate
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      choices in accordance with the Privacy Shield Principles.


Access. Within the scope of our authorization to do so, and in accordance with our
commitments under Privacy Shield, WhatsApp will work with its Partners to provide
individuals access to personal data about them that WhatsApp holds on behalf of its Partners.
WhatsApp will also take reasonable steps to enable individuals, either directly or in
connection with the Partners, to correct, amend, or delete personal data that is demonstrated
to be inaccurate.


Third Parties. WhatsApp may transfer data within the Facebook family of companies and to
third parties, including service providers and other partners. In accordance with the Privacy
Shield Principles, WhatsApp is liable for any processing of personal data by such third parties
that is inconsistent with the Privacy Shield Principles unless WhatsApp was not responsible
for the event giving rise to any alleged damage.


Legal Requests. Personal data that is transferred to us by our Partners may be subject to
disclosure pursuant to legal requests or other judicial and government process, such as
subpoenas, warrants, or orders. For more information, review the “Law and
Protection” section of the WhatsApp Privacy Policy.


Enforcement. WhatsApp's compliance with the Privacy Shield Principles is subject to the
investigatory and enforcement powers of the U.S. Federal Trade Commission.


Questions and Disputes. Please contact us with any questions or concerns relating to our
Privacy Shield certification. You have the option to resolve any applicable disputes you have
with us in connection with our certification through TrustArc, an alternative dispute resolution
provider based in the United States. You can contact TrustArc through their website. In certain
circumstances, the Privacy Shield Framework provides the right to invoke binding arbitration
to resolve complaints not resolved by other means, as described in Annex I to the Privacy
Shield Principles. Additionally, as part of the Privacy Shield Framework, the U.S. State
Department Senior Coordinator serves as the Ombudsperson to facilitate the processing of
requests relating to national security access to data transmitted from the EU or Switzerland to
the U.S.


For more information about WhatsApp's privacy practices please review our Privacy Policy.
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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 23 of 58


Intellectual         Property        Policy: Your Copyrights and
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   17 Jul 2018 - 3 Jan 2020                                                       2018 2019 2020   ▾ About this capture
WhatsApp Inc. ("WhatsApp," "our," "we," or "us") is committed to helping people and
organizations protect their intellectual property rights. Our users agree to our Terms of
Service ("Terms") by installing, accessing, or using our apps, services, features, software, or
website (together, "Services"). Our Terms do not allow our users to violate someone else's
intellectual property rights when using our Services, including their copyrights and
trademarks.


As explained in more detail in our Privacy Policy, we do not retain our users' messages in the
ordinary course of providing our Services. We do, however, host our users' account
information, including our users' profile picture, profile name, or status message, if they
decide to include them as part of their account information.



Copyright

To report copyright infringement and request that WhatsApp remove any infringing content
it is hosting (such as a WhatsApp user's profile picture, profile name, or status message),
please email a completed copyright infringement claim to ip@whatsapp.com (including all of
the information listed below). You can also mail a complete copyright infringement claim to
WhatsApp's copyright agent:


WhatsApp Inc.
Attn: WhatsApp Copyright Agent
1601 Willow Road
Menlo Park, California 94025
United States of America
ip@whatsapp.com


Before you report a claim of copyright infringement, you may want to send a message to the
relevant WhatsApp user you believe may be infringing your copyright. You may be able to
resolve the issue without contacting WhatsApp.



Trademark

To report trademark infringement and request that WhatsApp remove any infringing content
it is hosting, please email a complete trademark infringement claim to ip@whatsapp.com
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Before you report a claim of trademark infringement, you may want to send a message to the
relevant WhatsApp user you believe may be infringing your trademark. You may be able to
resolve the issue without contacting WhatsApp.



What to include in your copyright or trademark infringement claim to
WhatsApp

Please include all of the following information when reporting a copyright or trademark
infringement claim to WhatsApp:


      Your complete contact information (full name, mailing address, and phone number).
      Note that we regularly provide your contact information, including your name and email
      address (if provided), the name of your organization or client who owns the rights in
      question, and the content of your report to the person whose content you are reporting.
      You may wish to provide a professional or business email address where you can be
      reached.

      A description of the copyrighted work or trademark that you claim has been infringed.

      A description of the content hosted on our Services that you claim infringes your
      copyright or trademark.

      Information reasonably sufficient to permit us to locate the material on our Services. The
      easiest way to do this is by providing us the phone number of the individual who has
      submitted the infringing content on our Services.

      A declaration that:

              You have a good faith belief that use of the copyrighted or trademarked content
              described above, in the manner you have complained of, is not authorized by the
              copyright or trademark owner, its agent, or the law;

              The information in your claim is accurate; and

              You declare, under penalty of perjury, that you are the owner or authorized to act on
              behalf of the owner of an exclusive copyright or trademark that is allegedly
              infringed.

      Your electronic signature or physical signature.


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About cookies

A cookie is a small text file that a website you visit asks your browser to store on your
computer or mobile device.



How we use cookies

We use cookies to understand, secure, operate, and provide our Services. For example, we
use cookies:


      to provide WhatsApp for web and desktop and other Services that are web-based,
      improve your experiences, understand how our Services are being used, and customize
      our Services;

      to understand which of our FAQs are most popular and to show you relevant content
      related to our Services;

      to remember your choices, such as your language preferences, and otherwise to
      customize our Services for you; and

      to rank the FAQs on our website based on popularity, understand mobile versus desktop
      users of our web-based Services, or understand popularity and effectiveness of certain of
      our web pages.



How to control cookies

You can follow the instructions provided by your browser or device (usually located under
"Settings" or "Preferences") to modify your cookie settings. Please note that if you set your
browser or device to disable cookies, certain of our Services may not function properly.




WhatsApp Payments

WhatsApp Payments Terms of Service
Last modified: July 9, 2018 (archived versions)

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
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                 (“WhatsApp,”WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
                        Info “our,” “we,” or “us”) provides messaging,
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other                                                                           01 payments
       services to users around the world, including the ability to send and receive
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through designated payment service providers (“PSPs”) in India (“Payments”) via Unified
Payments Interface (“UPI”) developed by the National Payments Corporation of India (“NPCI”).
Payments is a “Service” as defined in the WhatsApp Terms of Service (“Terms”), and the
following WhatsApp Payments Terms of Service (“Payments Terms”) supplement the Terms
and apply to your use of Payments. You agree to the Payments Terms when you use
Payments.



About our payment service

Our Role. Payments is a service we provide through, and in coordination with, designated
PSPs. We provide a convenient platform that enables you to submit transaction instructions
to PSPs for processing via UPI. We are not a licensed financial institution, do not receive,
transfer, or store any funds in connection with Payments, and are not responsible for UPI
service interruptions or acts or omissions of PSPs or banks including the payment, settlement,
and clearance of funds. You have a separate relationship with your bank regarding your bank
account, and WhatsApp has no affiliation with your bank in this respect.


PSP’s Role. When you send or receive funds through Payments, a designated PSP receives the
instructions and processes the transaction via UPI. By using Payments, you will also need to
agree to the PSP’s terms and privacy policy, which will be presented to you when you first use
Payments. The PSP’s terms and privacy policy are also available here. These Payments Terms
govern the relationship between WhatsApp and you regarding Payments, and the PSP’s
terms govern the relationship between the PSP and you.


Eligibility. To use Payments, you must use a phone number with the country code for India
and have a bank account with a bank that supports UPI. The phone number you use for our
Services must be the same phone number linked to your bank account used for Payments.


Registration and UPI PIN setup. You must be an owner of the bank account you use to send
and receive funds through Payments. After you provide information to confirm your mobile
banking account, WhatsApp facilitates creation of a UPI ID (virtual payment address) that is
associated with your WhatsApp account. Since your transaction instructions are processed via
UPI, you must have a UPI PIN to send payments. We will ask you to create a UPI PIN to send
payments if you do not already have one for your bank account.


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Age.  You must Legal
                 be at least  WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
                         Info 18 years old to use Payments.
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Credits. We may credit your bank account for purposes including rewards and special offers.
Our affiliate WhatsApp Application Services Private Limited provides such credits on our
behalf.


Fees and Taxes. You must pay any applicable fees arising out of your use of Payments,
including any overdraft, transaction, or other fees charged by your bank, PSPs, or WhatsApp.
You must comply with applicable tax laws in connection with your use of Payments, including
reporting and payment of any taxes related to transactions made through Payments and any
income received from such transactions. WhatsApp is not responsible for withholding,
collecting, reporting, or remitting any sales, use, value added, or other tax arising from any
transaction you complete using Payments.



Privacy policy and user data

WhatsApp cares about your privacy. Our Privacy Policy applies to your use of Payments.
Because additional information will be collected and processed when you use Payments, the
WhatsApp Payments Privacy Policy also applies to your use of Payments. The WhatsApp
Payments Privacy Policy describes additional information practices applicable to Payments,
including the types of information we receive and collect from you when you use Payments
and how we use and share this information. If you use Payments, you agree to our data
practices, including the collection, use, processing, and sharing of your information as
described in our Privacy Policy and our Payments Privacy Policy.



Use of payments

Payment Amount. You are responsible for the total payment amount. You must ensure that
you have sufficient funds in your bank account before executing any transaction through
Payments. Your payment will not be sent if the PSP or your bank determines that your bank
account lacks sufficient funds to cover the entire transaction amount.


Acceptable Use of Payments. You must access and use Payments only for legal, authorized,
and acceptable purposes, according to our Terms and posted policies including merchant
policies as may be published from time to time. A PSP or WhatsApp may impose limits on
your ability to send or receive payments, including transaction limits. A PSP or WhatsApp may


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also  cancel anyLegal
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Purchase Transactions. If you use Payments to pay for goods or services, you agree to make
legitimate purchases and to be bound by any terms of the sale. We have no responsibility for
any goods or services purchased using Payments, including for any claims, damages, losses,
liabilities, chargebacks or disputes associated with transactions. WE MAKE NO WARRANTIES
OF ANY KIND, EXPRESS OR IMPLIED, WITH RESPECT TO ANY PRODUCTS OR SERVICES
PURCHASED USING PAYMENTS.


Payments Transactions Are Final. Once you submit a payment, it is final. WhatsApp does not
provide refunds or facilitate chargebacks. WhatsApp is not liable for unauthorized
transactions. We assume no responsibility for the underlying transaction of funds, or the
actions or identity of any transfer recipient or sender.


Business Use of Payments. If you are a business and use our Services, you must comply with
all applicable laws associated with your use of our Services, including Payments. You must
clearly disclose any applicable terms and fees to your customers and promptly fulfill any
goods or services you sell using Payments in accordance with any sale terms and applicable
laws. WhatsApp is not a party to the transaction.



Other

      If there is any conflict between these Payments Terms and the Terms, these Payments
      Terms control solely with respect to your use of Payments and only to the extent of the
      conflict.

      We may amend or update these Payments Terms. We will provide you notice of
      amendments to our Payments Terms, as appropriate, and update the “Last Modified”
      date at the top of our Payments Terms. Your continued use of Payments confirms your
      acceptance of our Payments Terms, as amended. If you do not agree to our Payments
      Terms, as amended, you must stop using Payments. Please review our Payments Terms
      from time to time.


WhatsApp Payments Privacy Policy
Last modified: July 9, 2018 (archived versions)

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
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                                    helps explain our information practices.
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include                                                                     01
         enabling you to send and receive payments (“Payments”), a service we
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through, and in coordination with, designated payment service provider (“PSP”) banks.


This Payments Privacy Policy helps explain our information practices when you use Payments.
We use all the information we have to operate, provide, improve, understand, customize,
support, and market our Services. PSPs may also collect, use, and share information as set
forth in their privacy policies, in conjunction with helping to provide Payments to you.


This Payments Privacy Policy supplements our Privacy Policy, which applies to the use of our
Services, including Payments. Please also see WhatsApp’s Terms of Service (“Terms”), which
describe the terms under which you use our Services including Payments, and the WhatsApp
Payments Terms of Service (“Payments Terms”), which supplement the Terms, govern your use
of Payments, and describe Payments in more detail. Please read all of these documents
carefully.



Information We Collect

In addition to what is described in our Privacy Policy, we receive information when we provide
Payments.


Information You Provide

      Registration and BHIM UPI PIN Setup Information. When you register to use Payments,
      you provide your bank’s name and confirm the bank account for use with Payments. If
      you do not have a BHIM UPI PIN already for your bank account, you can set one using
      your partial debit card number, expiry date, PIN (if required by your bank), and bank-
      issued one-time password (OTP) to set up a BHIM UPI PIN. We do not retain Customer
      Payment Sensitive Data (partial debit card number, expiry date, PIN, OTP, or BHIM UPI
      PIN). WhatsApp does not have access to the BHIM UPI PIN because it is encrypted by
      Common Library (CL) software provided by National Payment Corporation of India.

      Payment Transaction Information. When you send, receive, or request payments, you
      provide or confirm transaction information such as the receiver’s name and BHIM UPI ID
      (virtual payment address), and payment amount. To authorize every payment you make,
      you need to use your BHIM UPI PIN. This payment transaction information is handled
      securely. WhatsApp messages sent with payments are delivered once the transaction has
      processed and are treated as described in our Privacy Policy.

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      Information To Enable Payments. We collect information when you2018
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      request a payment, including the date and time and reference transaction number. When
      the sender makes a payment to a WhatsApp contact, we collect the sender and receiver’s
      names and BHIM UPI IDs.


Information We Receive From Service Providers, PSPs, And NPCI

      Service Providers. We work with service providers to help us operate, provide, improve,
      understand, customize, support, and market Payments; provide customer support; and
      keep our system safe and secure. For example, we work with companies to assist with
      customer support, and we receive information from them that you provide over the
      phone or email.

      PSP Banks and NPCI. We enable Payments by working with multiple PSP banks and the
      National Payments Corporation of India (NPCI) to facilitate the movement of funds
      between the sender and receiver’s bank accounts. They provide us information about
      you or your Payments transactions in certain circumstances; for example, we may receive
      information about you or your transactions from a PSP such as information to confirm
      your registration, the payment sender or receiver’s name, account status and balance
      sufficiency, transaction reference IDs, risk or fraud alerts, and the like. BHIM UPI
      transaction information is stored in encrypted format. Please note that the PSP or NPCI’s
      terms and privacy policies will govern your use of its services.



How We Use Information

We use all the information we have to operate, provide, improve, understand, customize,
support, and market our Services. This includes using the information to provide Payments
and customer support, to protect you and others using our Services from fraud, abuse, or
other misconduct, and to review your account activity to determine whether you continue to
meet our Terms and Payments Terms. WhatsApp works with the other Facebook Companies
to provide Payments, including to send payment instructions to PSPs.



Information You And We Share

In addition to what is described in our Privacy Policy, you share your information when you
use Payments, and we share your information to help us operate, provide, improve,
understand, customize, support, and market Payments.
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       Payment Senders And      WHATSAPP
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               may store or reshare your BHIM UPI ID, name, or transaction information with
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      others on or off our Services.

      Service Providers. In conformance with our relationship with PSPs, WhatsApp works with
      service providers including Facebook. To send payment instructions to PSPs; maintain
      your transaction history; provide customer support; improve, understand, customize,
      support, and market Payments; and keep our Services safe and secure, including to
      detect, prevent, or otherwise address fraud, safety, security, abuse, or other misconduct,
      we share information we collect under this Payments Privacy Policy with service providers
      including Facebook. Facebook will have no access to encrypted BHIM UPI transaction
      information in clear format. When we share information with service providers, we
      require them to use your information on our behalf in accordance with our instructions
      and terms.

      PSP Banks and NPCI. We share information with PSPs and NPCI to help us operate
      Payments. The PSP and NPCI receive transaction information such as payment amount
      and BHIM UPI IDs, so they can facilitate the movement of funds between the sender’s
      and receiver’s bank accounts. Please note that when you use PSP and NPCI services, their
      own terms and privacy policies will govern your use of those services.



Managing And Deleting Your Information

If you would like to manage, change, limit, or delete your Payments information, we allow
you to do that through your payment settings or by deleting your WhatsApp account. With
your payment settings, you may register additional bank account(s), deregister existing bank
account(s) from your BHIM UPI ID, change the PSP bank, and clear your transaction history.
When you delete your WhatsApp account, your bank account will be deregistered from your
BHIM UPI ID automatically.



Updates To Our Policy

We will notify you before we make changes to this Payments Privacy Policy and give you the
opportunity to review the revised Payments Privacy Policy before you choose to continue
using Payments.


PSP Terms and Privacy Policy

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
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These terms and conditions ("Terms") apply to and regulate the provision of a Unified
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Payments Interface Service–based electronic fund transfer and fund collection facility
provided by ICICI Bank to its Users through the application owned and maintained by
WhatsApp ("Facility") subject to the Terms herein specified.


The User may apply for the Facility by installing the WhatsApp mobile application on their
device and completing a one-time activation/registration for the Facility. The User will have
an option to set a virtual payment address ("VPA") by linking an Account maintained with any
bank in India through a one-time registration process defined and standardised by
NPCI/ICICI Bank and then start transacting. The process of registration is:


      WhatsApp customers need to select their bank followed by the account they want to link.
      Thereafter, they need to enter the last six digits of their debit card number along with the
      expiry details to create a VPA.

      By applying for and accessing the Facility, the User accepts these terms, which shall
      govern the provision of the Facility by ICICI Bank. The Terms shall be in addition to and
      not in derogation of the regulatory guidelines issued from time to time.


1. Definitions


In this document, the following words and phrases have the meanings set opposite them
unless the context indicates otherwise. Words or expressions used in this form, but not
specifically defined herein, shall have the respective meanings assigned to them by NPCI.


1.1. "Account(s)" refers to the resident Indian savings and/or current bank account(s) held
and maintained with any bank in India which is used for operations through the Facility.


1.2. "User" means the applicant/remitter availing of the Facility through the Account(s) and
satisfying the following conditions:


   a. has a valid mobile phone number;

   b. has downloaded the WhatsApp mobile application on the device; and

   c. has an Account(s).

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            and licensed as a bank under the Banking Regulation Act, 1949, and
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corporate office at ICICI Bank Towers, Bandra Kurla Complex, Mumbai 400 051 (which
expression shall, unless it be repugnant to the subject or context thereof, include its
successors and assigns).


1.4. "NPCI UPI System" means the switch and related equipment and software owned by NPCI
to provide the UPI-based fund transfer and funds collection facility including the National
Financial Switch.


1.5. "Payment Order" means an unconditional instruction issued by the User through the
WhatsApp Platform to effect a fund transfer for a certain sum of money expressed in Indian
rupees, to the designated account of a designated beneficiary by debiting the Account(s) of
the User.


1.6. "PSP (Payment Service Provider)" refers to banks which are allowed to acquire Users and
provide payment services to Users and entities.


1.7. "UPI" refers to the Unified Payments Interface Service offered by NPCI in collaboration
with its member banks.


1.8. "WhatsApp" means WhatsApp Inc., a Delaware, United States, company with offices at
1601 Willow Road, Menlo Park, CA 94025. It provides smartphone users with certain services
via their phone's Internet connection, including sending and receiving messages, calls,
photos, videos, documents and voice messages.


1.9. "WhatsApp Application" means WhatsApp's existing and future applications and services
including its business and consumer applications and services for mobile, desktop and web.


2. Applicability of Terms


The User hereby acknowledges that the User has read and understood the Terms and agrees
that the rights and obligations provided therein and in these Terms insofar as it relates to the
User shall be binding on the User with regard to every Payment Order issued by them for
execution in the NPCI UPI System. The User understands and agrees that nothing in terms of
availing the Facility shall be construed as creating any contractual or other rights against

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 34 of 58

NPCI  or any participant    in WHATSAPP
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                               the NPCI UPI System other than ICICI Bank.
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anything                                                                        01
           contained herein, all terms and conditions stipulated by ICICI Bank in
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with the Account(s) shall continue to apply. The Privacy Policy and Customer Rights Policy of
ICICI Bank shall continue to apply on the Users. These Terms and Conditions are in addition
to any terms and conditions that WhatsApp may prescribe for the use of its WhatsApp
Application.


3. Scope of the Facility


The Facility offers an instant, 24x7, interbank electronic fund transfer or fund collection
service to the customers of UPI member banks. Users can put in a request for fund transfers
or respond to funds collection in a secure manner for any of their linked Account(s) as per the
Terms, which may be changed by ICICI Bank as it deems fit.


Rights and Obligations of the User


3.1. The User shall be entitled, subject to Terms, to issue Payment Orders for execution by
ICICI Bank.


3.2. The Payment Order shall be issued by the User, in the form as prescribed by ICICI Bank,
which is complete in all particulars. The User shall be responsible for the accuracy of the
particulars given in the Payment Order for the Facility and shall be liable to compensate ICICI
Bank for any loss arising on account of any error in the Payment Order.


3.3. The User shall be bound by any Payment Order executed by ICICI Bank if ICICI Bank has
executed the Payment Order in good faith and in compliance with the instructions given by
the User on the WhatsApp Application.


3.4. The User authorises ICICI Bank to act as a PSP and debit Account(s) as per instructions
received by way of Payment Orders. The User understands that although multiple bank
accounts can be linked with the Facility, debit/credit transactions can be done from the
default account which is selected by the User before transactions until changed by the User
for subsequent transactions. Each Account that may be linked with the UPI facility can be
opened with a separate username. The User shall ensure availability of funds in their
Account(s) towards the fulfillment of the Payment Order before/at the time of the execution
of the Payment Order by ICICI Bank. The User hereby authorises ICICI Bank to debit the

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Account(s)   of the       for WHATSAPP
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                               any liability incurred by ICICI Bank on behalf
                                                                         Go of  the User for
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execution                                                                   01
            of the Payment Order issued by the User. The User understands and
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once a fund collection request is accepted, the default account will automatically be credited
with such amounts as may be mentioned in the Payment Order. The User understands and
agrees that such amounts once credited to the default account cannot be reversed by the
User.


3.5. The User agrees that the Payment Order shall become irrevocable when it is executed by
ICICI Bank.


3.6. The User agrees that they shall not be entitled to make any claim against Reserve Bank of
India ("RBI") and/or National Payment Corporation of India ("NPCI") in respect to the Facility.


3.7. The User shall provide correct beneficiary details to ICICI Bank at the time of availing the
Facility. The User shall be solely responsible for entering wrong beneficiary details including
but not limited to incorrect VPA, incorrect Aadhaar number or incorrect mobile number, due
to which the funds are transferred to an incorrect beneficiary.


3.8. The User shall not hold ICICI Bank responsible for any damage, claim or issue arising out
of or in connection with any purchase of goods/services from merchants through Payment
Orders issued by the Facility. The User understands and agrees that all such losses, damages
and issues shall constitute a claim against such merchants.


3.9. The User agrees that the Facility is offered in line with the RBI's guidelines on mobile
banking which are subject to change from time to time.


3.10. The User shall inform ICICI Bank immediately of any inquiry, question or issue raised by
any authority including but not limited to any statutory authority or official regarding and
relating to ICICI Bank, as well as expeditiously notify ICICI Bank of any show causes, seizure or
similar action and provide copies of any notices, memos or correspondences received from
such authority. The User shall not unilaterally file any response/reply to such an authority
without the prior approval of and vetting by ICICI Bank.


3.11. The User shall be solely liable for ensuring the availability of sufficient funds in the
Account(s) at all times for the purpose of availing the Facility. The User agrees that in the



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4. Undertakings and Representations


The User hereby undertakes, represents and warrants to ICICI Bank that:


4.1. The role of ICICI Bank hereunder is limited to acting as a Payment Service Provider, which
would include receiving from WhatsApp, bank information/data of the User for the purpose
of (i) creation of the VPA; and (ii) processing the transactions initiated by the User using the
UPI Facility as per applicable law.


4.2. The User shall be in compliance at all times with applicable laws regarding the use of the
Facility and shall not use the Facility in violation of the applicable laws.


5. General Terms


5.1. The laws of India shall govern these terms and conditions and/or the operations in the
Account(s) maintained with ICICI Bank. Any legal action or proceedings arising out of these
Terms shall be brought in the courts or tribunals at Mumbai in India. ICICI Bank may,
however, in its absolute discretion commence any legal action or proceedings arising out of
these Terms in any other court, tribunal or other appropriate forum, and the User hereby
consents to that jurisdiction.


5.2. The clause headings in these Terms are only for convenience and do not affect the
meaning of the relative clause.


5.3. ICICI Bank may subcontract and employ agents to carry out any of its obligations
hereunder.


5.4. ICICI Bank has the absolute discretion to amend or supplement any of the Terms as
stated herein at any time and will endeavour to give prior notice of 15 days for such changes
wherever feasible. By using the new services, the User shall be deemed to have accepted the
changed terms and conditions.




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      Bank's website www.icicibank.com, or by sending them by post to the last
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by the User and, in the case of ICICI Bank, to its corporate office address. In addition, ICICI
Bank may also publish notices of general nature, which are applicable to all Users, in a
newspaper or on its website at www.icicibank.com. Such notices will have the same effect as a
notice served individually to each User. Notice and instructions will be deemed served 7 days
after posting or upon receipt in the case of hand delivery, cable, telex or facsimile.


5.6. Any provision of these Terms which is prohibited or unenforceable in any jurisdiction
shall, as to such jurisdiction, be ineffective to the extent of prohibition or unenforceability but
shall not invalidate the remaining provisions of these Terms or affect such provision in any
other jurisdiction. ICICI Bank shall have the right of set-off and lien, irrespective of any other
lien or charge, present as well as future on the deposits held in the Account(s) to the extent
of all outstanding dues, whatsoever, arising as a result of the Facility extended to and/or used
by the User.


6. Sharing of Information


6.1. The User irrevocably and unconditionally authorises ICICI Bank to access all the User's
Account(s) and records for the purpose of providing the Facility. The User agrees that ICICI
Bank and its affiliates (or their contractors) may hold and process their personal information
and all other information concerning their Account(s) on computer or otherwise in
connection with the Facility as well as for analysis, credit scoring and marketing.


6.2. The User hereby expressly consents to and permits ICICI Bank, its affiliates and all the
parties involved in the payment system including but not limited to Payments System
Providers, acquiring banks, partner banks, the issuer bank of the sender's funding account,
the issuer bank of the beneficiary's bank account, NPCI and RBI to collect, store and share
such information including but not limited to their personal information such as name,
address, all transaction details carried out through the WhatsApp Platform or information
with respect to third parties and the beneficiary including bank account number.


6.3. In the event the User is a beneficiary, the User hereby consents ICICI Bank to permit the
remitter to store their information including but not limited to bank account number for the
purpose of sending the payments.




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6.4.https://www.whatsapp.com/legal?eea=0
      The User understands
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including                                                                  01 partner
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banks, the issuer bank of the sender's funding account, the issuer bank of the beneficiary's
bank account, NPCI and RBI or third parties, is shared between ICICI Bank and WhatsApp to
provide the Facility. In addition, the User understands and agrees that ICICI Bank is required
to share their personal information, such as name, email address and payment instrument
details, with third parties for the purposes of processing transactions or for the use of the
services to register their complaints. ICICI Bank will abide by NPCI guidelines and adhere to
the customer dispute management process specified by NPCI.


6.5. The User agrees and understands that the transaction will be recorded in the statement
of account as given to the User by the User's bank. The User agrees that they shall not be
entitled to dispute the correctness of the execution of the Payment Order or the amount
debited to their Account(s) if they fail to report the discrepancy as per NPCI guidelines.


7. Disclaimer of Liability


7.1. ICICI Bank does not hold out any warranty and makes no representation about the
quality of the Facility. The User agrees and acknowledges that ICICI Bank shall not be liable
and shall in no way be held responsible for any damages whatsoever, whether such damages
are direct, indirect, incidental or consequential and irrespective of whether any claim is based
on loss of revenue, interruption of business, transaction carried out by the User and
processed by ICICI Bank, information provided or disclosed by ICICI Bank regarding
Account(s) or any loss of any character or nature whatsoever and whether sustained by the
User or by any other person. While ICICI Bank shall endeavour to promptly execute and
process the transactions as proposed to be made by the User, ICICI Bank shall not be
responsible for any non-response or delay in responding due to any reason whatsoever,
including due to failure of operational systems or any requirement of law. ICICI Bank shall not
be liable for any loss, claim or damage suffered by the User and/or any other third party
arising out of or resulting from failure of a UPI transaction on account of time-out
transaction; i.e., where no response is received from NPCI or the beneficiary bank to the
transaction request and/or where mobile number or account number of the beneficiary does
not exist. Further, ICICI Bank shall also not be liable for any loss, damage and/or claim arising
out of or resulting from wrong beneficiary details, mobile number and/or account details
being provided by the Customer. ICICI Bank shall, under no circumstance, be held liable to
the User if Facility access is not available in the desired manner for reasons including but not



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limited   to natural           WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
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network   failure, or any other reason beyond the control of ICICI Bank.
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7.2. The User is responsible for the accuracy and authenticity of the Payment Order provided
to ICICI Bank and the same, if in the form and manner prescribed by ICICI Bank, shall be
considered to be sufficient to operate the UPI Facility. ICICI Bank shall not be required to
independently verify the Payment Order. ICICI Bank has no liability if it does not or is unable
to stop or prevent the implementation of any Payment Order issued by the User. Once a
Payment Order is issued by the User, the same cannot be subsequently revoked by the User.


7.3. ICICI Bank states that it has no liability or obligation to keep a record of the Payment
Orders to provide information to the User or for verifying the Payment Orders. ICICI Bank
shall refuse to comply with the Payment Orders without assigning any reason and shall not
be under any duty to assess the prudence or otherwise of any Payment Order. ICICI Bank has
the right to suspend the transactions with respect to the UPI Facility if it has reason to believe
that the User's Payment Orders will lead to or expose to direct or indirect loss to ICICI Bank or
may require an indemnity from the User before continuing to operate the UPI Facility.


7.4. All Payment Orders, requests, directives, orders and directions, entered by the User, are
based upon the User's decisions and are the sole responsibility of the User.


7.5. Users shall not hold ICICI Bank responsible and/or liable in any manner whatsoever for
any losses/damages/costs incurred by the User for creation of the VPA and/or
initiating/processing/cancelling any transaction on the WhatsApp Platform.


8. Fraud or Unauthorised Use


ICICI Bank shall not be responsible for, and the User shall solely be responsible for, any
unauthorised access or use of their personal or financial information through the WhatsApp
Platform.


9. Indemnity


The User agrees, at their own expense, to indemnify, defend and hold harmless ICICI Bank
against any claim, suit, action or other proceeding brought against ICICI Bank, to the extent



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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
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that  such claim,Legal         WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
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arises in connection with the use of the Facility with reference to:
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    i. a violation of the Terms by the User;

   ii. any deletions, additions, insertions or alterations to, or any unauthorised use of, the
      Facility by the User;

  iii. any misrepresentation or breach of representation or warranty made by the User
      contained herein;

  iv. any breach of any covenant or obligation to be performed by the User hereunder;

   v. any loss incurred by or threatened to be incurred by NPCI/RBI and/or any regulatory
      proceeding arising out of or in connection with the User's use of the Facility.


10. Assignment


ICICI Bank shall be entitled to sell, assign, securitise or transfer ICICI Bank's rights and
obligations under these Terms and any security in favour of ICICI Bank (including all
guarantee[s]) to any person of ICICI Bank's choice in whole or in part and in such manner and
on such terms and conditions as ICICI Bank may decide. Any such sale, assignment,
securitisation or transfer shall conclusively bind the User and all other persons. The User, their
successors and assigns are bound by these Terms. However, the User shall not be entitled to
transfer or assign any of their rights and obligations under these Terms.


11. Termination and Suspension


11.1. The User may request for termination of the UPI Facility anytime by giving a prior
written notice of at least 15 days to ICICI Bank. The User will remain responsible for all the
transactions made through the UPI Facility until the time of such termination.


11.2. ICICI Bank may withdraw or terminate the UPI Facility anytime either entirely or with
reference to a specific UPI Facility without assigning any reasons whatsoever. ICICI Bank may
suspend or terminate the UPI Facility without prior notice if the User has breached any of
these Terms.


11.3. ICICI Bank may suspend or terminate the UPI Facility anytime without assigning any
reason whatsoever without any prior notice upon the request of WhatsApp.

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4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 41 of 58


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12.1. The laws of India shall govern these terms and conditions and/or the operations in the
Account(s) maintained with ICICI Bank. Any legal action or proceedings arising out of these
Terms shall be brought in the courts or tribunals at Mumbai in India.


12.2. ICICI Bank has the absolute discretion to amend or supplement any of the Terms as
stated herein at any time and will endeavour to give prior notice of 15 days for such changes
wherever feasible. By using the new services, the User shall be deemed to have accepted the
changed terms and conditions. Notices under these Terms may be given in writing by
delivering them by hand, or on ICICI Bank's website www.icicibank.com, or by sending them
by post to the last address given by the User and, in the case of ICICI Bank, to its corporate
office address.


12.3. Notice and instructions will be deemed served 7 days after posting or upon receipt in
the case of hand delivery, cable, telex or facsimile.



HDFC Bank's Payment Service Terms

These terms and conditions shall be in addition to HDFC Bank Privacy Policy.


To read HDFC Bank Privacy Policy, click here.


The user of this HDFC Bank UPI facility (the “User”) should have his mobile number registered
with the Bank and should have existing relationship with his/her Bank for availing this
Facility/Service, using HDFC Bank UPI facility.


The Facility/Service shall be made available only to the User satisfying the eligibility criteria
and shall be provided at the sole discretion of HDFC Bank Ltd and may be discontinued by
HDFC Bank Ltd at any time without notice.


The User shall be solely responsible and liable:


   1. For the accuracy of any personal or other information provided for availing this
      Facility/Service.

   2. For Pay or Collect requests initiated through HDFC Bank UPI facility.
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   4. For all loss, cost and damage, if he/she has breached the terms and conditions contained
      herein and in the HDFC Bank Mobile Banking Policy.


HDFC Bank Ltd shall not be held responsible and liable for any loss, cost and damage
suffered by the User due to disclosure of his personal or other information to a third party
including but not limited to statutory/regulatory authority by HDFC Bank Ltd for whatsoever
reason, e.g., participation in any telecommunication or electronic clearing network in
compliance with a legal or regulatory directive for statistical analysis or for credit rating or for
any legal or regulatory compliance.



Axis Bank's Payment Service Terms

These terms and conditions form the contract between the User and the Axis Bank and shall
be in addition to and not in derogation of other terms and conditions of any account or any
other facility/services offered by the Bank and/or such other terms and conditions as may be
specified by the Bank.


Definitions:


The following words and phrases shall have the meanings set out herein below in this
document unless repugnant to the context:


“Application” or “Mobile Payment Application” refers to ‘WhatsApp’ mobile application by
WhatsApp Inc that has tied up with Axis Bank for Unified Payment Interface services, which
can be downloaded from Google Play store or Apple Store to avail UPI Services through this
mobile application.


"Account(s)" shall mean an operative bank account maintained by the User with Axis Bank or
any other Bank Account which User provides at the time of authentication process of
Application, for availing the facility which is being offered.


“Account Holder” shall mean a User holding an Account, excluding Non-Resident Indians,
Corporate Account Holders and Foreign Account Holders.


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                                                      WhatsApp FiledInfo04/02/20 Page 43 of 58

"Bank"   and "Axis  Bank"     WHATSAPP
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Companies                                                                    01 having its
  10 captures Act 1956 and licensed as a bank under Banking Regulation Act, 1949
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registered office at 'Trishul', 3rd Floor, Opposite Samartheshwar Temple, Law Garden, Ellis
Bridge, Ahmedabad 380 006, Gujarat and corporate office at 131, Maker Towers 'F', Cuffe
Parade, Mumbai. This term shall be inclusive of any 'affiliates' of the Bank which shall mean
and include any company which a holding company or a subsidiary of ; a person under the
control of the Bank or any person in which the bank has a direct/beneficial interest in more
than 26% of the voting securities of such person. For the purpose of this definition, "control",
when used with respect to any person would mean the power to direct the management and
policies of such person, directly or indirectly, whether through the ownership of the vote
carrying securities, by contract or otherwise howsoever; and "person" would mean a
company, corporation, a partnership, trust or any other entity or organization or other body
whatsoever.


“Debit Card” shall means and includes the debit card issued to the User in respect of an
operative bank account maintained by the User with Axis Bank or any other Bank Account.


"Facility" shall mean UPI services offered by Axis Bank through WhatsApp to facilitate User to
send or receive money via UPI platform, through said Mobile Application.


“Issuing Bank” shall mean member banks participating in UPI network to identify the bank
account basis Mobile No in case of customer is registering through any PSP App.


"Mobile Phone Number" shall mean the mobile number of the User used during registration
for Mobile/SMS Banking via secured channel with Axis Bank or for the Whatapp Application,
for the purpose of availing the facility.


“UPI” shall mean unified payments interface is a service provided by NPCI that allows transfer
of money using a virtual address (UPI ID) that is mapped to an account of the User after
complete validation.


“NPCI” shall mean National Payment Corporation of India. The funds transfer feature (send
and ask) is provided using UPI service of NPCI.


“Virtual Address/UPI ID” shall mean an identifier that can be uniquely mapped to an
individual account using a translation service.

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                                                      WhatsApp FiledInfo04/02/20 Page 44 of 58

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                                 a valid SIM card enabled smartphone (running
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operating   system/ iphone), which is owned by the User.
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"Personal information" shall mean any information about the User provided by the User to
and obtained by Axis Bank in relation to the facility.


“Services” shall mean UPI services offered by Axis Bank under the said facility on WhatsApp
Application.


“Transaction” shall mean the fund transfer service to send or receive money; offered under
the said facility on WhatsApp application.


"User" shall mean an Account Holder of Axis Bank as well as any other person (not necessary
having any relationship with Bank) who has downloaded the WhatsApp application and who
is eligible for availing fund transfer facility to send or receive money offered thereunder.


For the purposes of this document, all reference to the User in masculine gender shall be
deemed to include feminine gender also.


Eligibility and Usage:


This facility shall be available to the Users in India, using WhatsApp Application. The User
should have his/her Mobile Phone Number registered with his/her Bank for SMS/Mobile
Banking and should have existing relationship with his/her Bank for availing this Facility and
services thereunder, using this Mobile Payment Application.


This facility shall be made available only to the Users satisfying the eligibility criteria and shall
be provided at the sole discretion of Axis Bank and may be discontinued by Axis Bank at any
time, with or without prior intimation to the Users.


The User understands and accepts that any other condition that is a pre-requisite to access
and avail benefits under the facility, including, but not limited to a Mobile Phone, Data
Connection, etc. will be the sole responsibility of the User.


Authorization:


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     User irrevocably
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including effecting Banking or other transactions of the user through the facility.


The User expressly authorizes Axis Bank to disclose to the service provider or any other third
party, all user information in its possession, as may be required by them to provide the
services offered under the said facility to the User.


The authority to record the User’s details and transaction details is hereby expressly granted
by the User to Axis Bank. All records generated by the transactions arising out of use of the
facility, including the time of the transaction, beneficiary details, etc; recorded shall be
conclusive proof of the genuineness and accuracy of the transactions.


The User authorizes Axis Bank to send any message or make calls to his mobile phone
Number to enquire about any transaction/UPI related services and/or to inform him about
any promotional offers including information regarding Banks' new products either now
available or which Axis Bank may come up with in the future, or any other message that Axis
Bank may consider appropriate to the User.


The User irrevocably and unconditionally agrees that such calls or messages made by the Axis
Bank and/or its Agents shall not be construed as a breach of the privacy of the User and shall
not be proceeded against accordingly.


The User authorizes Axis Bank to send any rejection message or to reject any
transaction/request if it finds that the request sent by the User is not as per the requirements
stipulated by Axis Bank for availing the facility.


Axis Bank shall make all reasonable efforts to ensure that the User’s information is kept
confidential. Axis Bank, however, shall not be responsible for any divulgence or leakage of
confidential User information.


The User expressly authorizes Axis Bank to carry out all request(s) or transaction(s) for and/or
at the request of the User through WhatsApp Application and the Bank shall solely rely upon
authenticity of any request or transaction purporting to have been received from the User
through WhatsApp Application.



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                                                      WhatsApp FiledInfo04/02/20 Page 46 of 58

Liabilities                    WHATSAPP
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   1. The User shall be responsible for the accuracy of any information provided by the user
      for availing the facility.

   2. The USER shall be solely responsible for fund transfer through the Facility to the correct
      Beneficiary/ virtual address.

   3. The USER shall also be responsible to comply with the applicable Anti-Money Laundering
      (AML) norms governing such funds transfers as stipulated by Reserve Bank of India
      (“RBI”), from time to time.

   4. The USER shall be liable and responsible in case of any discrepancy found in the
      information provided by him for availing fund transfer service offered through the
      Facility.

   5. If, the USER suspects that, there is an error in the information supplied by Axis Bank, he
      shall inform the Bank immediately. Axis Bank will endeavor to correct the error promptly
      wherever possible on a best effort basis.

   6. Axis Bank shall not be held liable for any loss suffered by the User due to disclosure of
      the Personal information to any service provider or third party by the Bank, for reasons
      including but not limited to participation in any telecommunication or electronic clearing
      network, in compliance with any legal or regulatory directives, for statistical analysis or
      for credit rating or for any legal or regulatory compliance.

   7. The User shall be solely responsible for protecting his Mobile Phone and UPI PIN for the
      use of the said facility.

   8. The User shall be liable to the Bank for any kind of unauthorized or unlawful use of any
      of the above mentioned UPI PIN /passwords or of the said Facility or any fraudulent or
      erroneous instruction given and any financial charges thus incurred shall be payable by
      the User only.

   9. The User accepts that for the purposes of the said facility any transaction emanating
      from the Mobile Phone Number registered by User shall be assumed to have initiated by
      the User at his sole discretion.

 10. It is the sole responsibility of the User to request the Bank, to suspend the said facility
      due to change of his registered Mobile Phone Number or if his Mobile Phone has been
      lost or has been allotted to some other person. The User shall also be obliged to inform
      the Bank, if any, unauthorized transaction in his account, of which he has knowledge.



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      services under the said facility. Axis Bank shall not be responsible for any disregard on
      the part of the User.

 12. The User shall be liable for all loss if he has breached the Terms and conditions contained
      herein and other applicable terms & conditions or contributed or caused the loss by
      negligent actions or a failure on his part to advise Axis Bank within a reasonable time
      about any unauthorized access made on his behalf in the WhatsApp Application.

 13. The User shall agree that by use of this facility, he shall be deemed to have agreed to all
      the above terms and conditions and such terms and conditions shall be binding on
      me/us in the same manner as if he has agreed to the same in writing.


Terms of Service:


These terms & conditions are in addition to the general terms & conditions of any account or
any other facility provided by Axis Bank to its Customers.


   1. This facility is available only to the User having a bank account with any bank in India
      providing Immediate Payment Service (IMPS), Unified Payment Interface (UPI), including
      the fund transfer service.

   2. User shall register him for using the Application in such manner and through such modes
      as may be specified and made available by WhatsApp from time to time for availment
      and use of the facility.

   3. Axis Bank reserves right to charge the User for the services offered under the said facility.

   4. This facility will be provided by Axis Bank at the request of the User to enable them to
      Send or receive the funds through Application to the accounts/virtual addresses added
      in the application based on the instructions received from User.

   5. The User irrevocably and unconditionally authorizes Axis Bank to debit or Credit his
      account/s with the Bank registered for availing the facility.

   6. User agrees and confirms that, for the purpose of availing said facility :


      a) User has to add his existing account maintained with Axis Bank or any other Bank, to
      the WhatsApp application.


      b) User has to select the appropriate bank details where his account is maintained, for
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                                  his account to WhatsApp application. The
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      basis the mobile number shared by User. The account details which will be fetched by
      the Bank will be displayed to the User on his mobile phone/device in the message
      format.


      c) After the successful account addition in the WhatsApp application, the User has to
      only authorize the transaction by entering the UPI PIN set-up by said User. This UPI PIN
      will be set-up by the User directly on the NPCI library and Axis bank would not be able to
      read or copy such UPI PIN, thus Axis Bank will not be responsible to maintain the
      confidentiality of such UPI PIN.


      d) The User should act in good faith, exercise reasonable care and diligence and shall be
      solely responsible for the confidentiality of his account details, debit card details, OTP or
      UPI PIN and any personal information (“credentials”). User acknowledges, represents and
      confirms that his credentials are personal to the him and the User shall ensure at all
      times to keep the same confidential and Axis Bank shall not be held liable or responsible
      if the User discloses his credentials to any third party in any manner whatsoever or
      authorizes any third party to operate account or hands over his WhatsApp application or
      if third party changes/modifies the credentials in the WhatsApp application due to
      disclosure of such credentials by the User or misuse the WhatsApp application permitted
      by User to use by third party. Therefore, Bank shall not be held liable or responsible in
      case of any details including UPI PIN are compromised by User and/or any misuse of
      WhatsApp application by third party, in such case the User shall be solely liable and
      responsible and shall keep Axis Bank indemnified, harmless and absolved from any
      liability in this regard including from any loss, cost, penalty, charges, including legal
      fees/charge, etc.; which may cause to Axis Bank due to User’s disclosure of his
      credentials/UPI PIN to any third party/person or any misused thereof in any manner
      whatsoever including the misuse of WhatsApp Application by third party. The User shall
      be solely liable and responsible, in case if the said details are compromised by the
      Customer knowingly or unknowingly, in any manner whatsoever.


      e) Axis Bank account and Non Axis Bank account details of the User would be stored at
      Axis Bank server database to the extant details provided by NPCI as per NPCI guidelines.


      f) User shall adhere to the limit set Axis Bank for making any fund transfer under said
      facility.


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      facility.

   8. The User will be required to register his details including bank account details after
      downloading the Application to Send and Receive the funds through said facility.

   9. The User shall be responsible for maintaining the confidentiality of UPI PIN/
      OTP/Code/password and for all the consequences which may arise due to use or misuse
      of such UPI PIN/OTP/Passcode/password.

 10. The User shall be responsible for any and all the fund transferred to beneficiaries at their
      request or received by using the Facility.

 11. The User shall be liable for all loss caused due to negligent actions or a failure on his part
      to immediately notify Axis Bank within a reasonable time, about any unauthorized
      use/access made on his behalf in the Application or misuse of UPI PIN/
      OTP/Passcode/password or any other breach of security regarding the facility, of which
      he has knowledge.

 12. The User irrevocably and unconditionally authorise Axis Bank to access all the necessary
      information for effecting transactions executed by him under the facility and to share his
      necessary information with any third parties for the purpose of accepting/ executing
      such requests.

 13. Axis Bank may keep records of the transactions in any form it wishes. In the event of any
      dispute, Bank's records shall be binding as the conclusive evidence of the transactions
      carried out through the said Application.

 14. The User shall not to use/access the Facility and/or services offered through the same in
      any manner other than as authorized by Axis Bank. In case the User uses the Facility for
      any purpose which is illegal, improper or which is not authorised under these terms
      /other specified terms & conditions then Axis Bank has a right to take all reasonable
      measures in order to prevent such unauthorised access by the User.

 15. The User confirms that, any instructions given by him shall be effected only after
      validation of authentic UPI PIN/ OTP/Passcode/Password used by him for availing such
      facility.

 16. The User agrees and confirms that, once the transaction is materialized, any stop-
      payment instructions given by him cannot be accepted and acted upon by Axis Bank.

 17. The User shall while utilizing the facility ensure that:


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      b) he shall provide Axis Bank with such information and/or assistance as is required by
      Axis Bank for the performance of the service and /or any other obligations of Axis Bank
      under this facility.


      c) he shall be responsible for providing the accurate and authentic
      information/instructions to Axis Bank for availing such facility.


      d) he shall not at any time provide to any person, with any details of accounts held by
      him with Axis Bank or any other Bank including the passwords, account number which
      are allotted, from time to time.

 18. The User acknowledges that, the services offered by Axis Bank under the said facility shall
      be availed by him at his own risk and these risks shall include the following risks:


      a) any technical error, failure, glitch, network failure, legal restraints and other reasons
      which is beyond control of Axis Bank and for which Axis Bank shall not hold in any
      manner.


      b) any loss, damages, etc. that may be incurred/suffered by User, for the reason that the
      information provided by him turns out to be wrong/incorrect/inaccurate, for which Axis
      Bank shall not be held responsible.


      c) for the performance of any service provider/other third party/entity involved in the
      process; and for any loss or damage incurred or suffered by User for any error, defect,
      failure or interruption of the service or consequences arising out of delayed fund
      transfer.


      d) any loss of damage arising or resulting from delay in transmission delivery or non-
      delivery of online/electronic instructions or any mistake, omission or error in
      transmission or delivery thereof or in decrypting the instructions from any cause
      whatsoever or from its misinterpretation received or any act or even beyond control of
      Axis Bank.


      e) The technology for enabling the transfer of funds and the other services offered by
      Axis Bank under the said facility could be affected by virus or other malicious, destructive

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      possible to process the request/transaction of the Users. This could result in delays in the
      processing of instructions or failure in the processing of instructions and other such
      failures and inability. User understand that Axis Bank disclaims all and any liability,
      whether direct or indirect, whether arising out of loss or otherwise arising out of any
      failure or inability by the Bank to honour any User instruction for whatsoever reason.


      f) The User shall be entering his sensitive information, OTP or UPI PIN in NPCI library for
      authorizing any transaction initiated by the User and the final authorisation of any such
      transaction which will be done by the Issuing bank only after confirmation received from
      the Issuing bank from the User. User agrees and confirms that, he shall be alone
      responsible for use/disclosure of his details as mentioned herein, for
      initiating/authorizing any transaction through the Facility via NPCI and the Issuing bank
      and shall keep Axis Bank indemnified, harmless and absolved from any liability in this
      regard including from any loss, cost, penalty, charges, including legal fees/charge, etc;
      which may cause to Axis Bank due to use/disclosure of User’s details mentioned herein
      by User, over NPCI Library and to the Issuing bank for seeking their confirmations, in
      respect of any transaction initiated/authorized by the User. Therefore, the User shall be
      solely liable and responsible, in such case if any loss, cost, penalty, charges, including
      legal fees/charge, etc; incurred to the User, in any manner whatsoever in this regard.

 19. The User agrees that Axis Bank shall assume no responsibility in respect of:


      a) Transactions carried out under the service in good faith relying on User’s instructions.


      b) Not carrying out transactions where Axis Bank has reason to believe in its sole
      discretion that the instructions are not genuine or are otherwise unclear, improper,
      vague or doubtful.


      c) For any loss or damage incurred or suffered by User for any error, defect, failure or
      interruption of the service or consequences arising out of delayed transfer/remittance
      and for any reason which is beyond control of Axis Bank.


      d) User acknowledges and agrees that Axis Bank remains a mere facilitator for this
      service and that Axis Bank does not warrant or claim any responsibility for this facility nor
      does Axis Bank endorse any such service and/or its standing or reputation whatsoever
      and Axis Bank shall not liable for any deficient or bad services in any manner whatsoever

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      e) Unauthorized access of any third party to the information/instructions given by user to
      third party using said facility.


      f) For any direct, indirect or consequential damages occurred to User while availing this
      facility, arising out of any error in the facility and which are beyond control of Axis Bank.


      g) When Axis Bank acted in good faith.


      h) Any loss, damage, liability caused or suffered by User due to disclosure of all
      information of confidential nature


      i) In respect of UPI System, as the connectivity to UPI System is extended to the Axis Bank
      only and any/all secure credentials that are required to process the transaction shall be
      provided by the User which will be captured and encrypted as per the construct and
      requirement of UPI only, by NPCI. Therefore, the secure mechanism or interface will be
      extended by NPCI through UPI system to Axis Bank including but not limited to secured
      credentials or sensitive information such as User’s UPI PIN, OTP in encrypted manner.

 20. User agrees that, charges if any for the facility offered by Axis Bank will be at the sole
      discretion of Axis Bank and Axis Bank is at the liberty to withdraw/modify/vary the same
      from time to time, without giving any notice to me/us.

 21. The Bank at its sole discretion reserves the exclusive right to block, temporarily or
      permanently, virtual payment address(es) of the User, if it identifies that the user-name
      or words used in the virtual payment address(es), as misleading, offensive, prohibited,
      promotional or brand-names, trademark or copyright pertaining to any third party, with
      or without prior intimation to the User, for which the Bank shall not be held liable or
      responsible in any manner whatsoever.

 22. The User agrees that, if his bank account is closed/ blocked pursuant using the facility,
      for any reason whatsoever, user shall settle the issue directly with his Bank and shall not
      hold Axis Bank any way responsible for the same.

 23. The User shall remain responsible for any and all the transactions made through the
      facility. Axis Bank may withdraw or terminate the facility anytime or in case of breach of
      terms by me/us without a prior notice; or if Axis Bank learns of demise, bankruptcy or
      lack of legal capacity of the User or for any reason whatsoever.

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      Therefore, at one given point of time User is entitled to use funds available in particular
      bank account which he has chosen for making payment using the said Facility.

 25. The User agrees to indemnify, defend and hold harmless Axis Bank and its directors,
      officers, owners, agents, co-branders or other partners, employees, information
      providers, licensors, licensees, consultants, contractors and other applicable third parties
      (collectively "Indemnified Parties") from and against any and all claims, demands, causes
      of action, debt or liability, including reasonable attorney's fees, and costs incurred by the
      Indemnified Parties arising out of, related to, or which may arise from:


      a) any breach or non-compliance by User of any term of these Terms of Service or any
      other additional terms & conditions and policies of Axis Bank;


      b) any dispute or litigation caused by Users actions or omissions;


      c) any negligence or violation or alleged violation of any law or rights of a third party

 26. Axis Bank may provide the any services through this Facility, directly or through its
      associates or contracted service providers on its behalf.


Limitations on transactions


Transaction limits as prescribed by the regulator for the UPI facility shall be applicable to each
User


Indemnity:


In consideration of Axis bank agreeing to provide the Facility and/or services to the User, the
User shall, at his own expense, hereby irrevocably agrees, to indemnify and keep Axis bank its
directors and employees, representatives, agents and/or affiliates (hereinafter referred to as
“the related parties”), as the case may be, indemnified and harmless, at all times hereafter,
from all losses, damages, costs, legal fees, charges and expenses and consequences
whatsoever, on full indemnity basis, suffered or incurred or likely to suffer by Axis bank or the
related parties on account of any claims, actions, suits or otherwise instituted by the User, or
any third party whatsoever, arising out of or in connection with the use of the Facility and any
and all transactions initiated by the use of the Facility, whether with or without the knowledge

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on the User’s transaction instructions and authority of the User in accordance with these
terms and conditions and other applicable specific terms and conditions, as the case may be.
The User further agrees and confirms that this indemnity shall remain valid and subsisting
and binding upon the User notwithstanding partial withdrawal of the Facility.


The User will pay Axis Bank and /or the related parties such amount as may be determined by
Axis Bank and/or the related parties to be sufficient to indemnify it against any such loss or
expenses even though they may not have arisen or are contingent in nature.


The User agrees to pay any and all costs, damages and expenses, including, but not limited
to, reasonable attorneys' fees and costs awarded against it or otherwise incurred by or in
connection with or arising from any such claim, suit, action or proceeding attributable to any
such claim.


Confidentiality and Disclosure:


To the extent not prohibited by applicable law, the Axis bank shall be entitled to transfer any
information relating to the User and/or any other information given by the User for utilization
of the Facility to and between its branches, representative offices, affiliates, representatives,
auditors and third parties selected by Axis bank, wherever situated, for confidential use in and
in connection with the Facility. Further, Axis bank shall be entitled at any time to disclose any
and all information concerning the User within the knowledge and possession of Axis bank to
any other bank/association/financial institution or any other body. This clause will survive the
termination of this agreement.


Accuracy of Information:


The User takes the responsibility for the correctness of the information supplied by him to
the Bank through the use of the said facility or through use of the Application or by any other
means.


The User herein accepts that in case of any discrepancy in the information provided by him
with regard to this facility the onus shall lie upon the User only and thus agrees to furnish
accurate information at all times to Axis Bank. If the User suspects that there is an error in the

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shall also not be responsible for any incidental error which occurs inspite of necessary steps
being taken by the Bank to ensure the accuracy of the information provided to the User and
the User shall not have any claim against Axis bank in an event of any loss/damage suffered
by the User as a consequence of the inaccurate information provided by the Bank.


Termination:


Axis Bank may, at its discretion, withdraw temporarily or terminate the Facility, either wholly
or in part, at any time without giving prior notice to the User. Axis Bank may, without prior
notice, suspend the Facility at any time during which any maintenance work or repair is
required to be carried out or in case of any emergency or for security reasons, which require
the suspension of the Facility. The closure of the account of the User will automatically
terminate the Facility. Axis Bank may suspend or terminate Facility without prior notice if the
User has breached these terms and conditions or Axis Bank learns of the death, bankruptcy or
lack of legal capacity of the User. Except as otherwise provided by the applicable law or
regulation, Axis bank reserves the right to terminate the Facility and/or expand, reduce or
suspend the transactions allowed using this Facility, change the process and transaction limits
associated with this Facility based on security issues, at any time, without any prior notice to
the User.


Disclaimers:


Axis bank shall be absolved of any liability in case:


The User fails to avail the facility due to force majeure conditions including but not limited to
not being in the required geographical range or any other reason including natural
calamities; legal restraints any technical lapses in the telecommunication network or any
other reasons beyond the actual control of Axis Bank, the Bank shall not be accountable. Also
the Bank is herein absolved of any kind of liability arising due to a loss; direct or indirect
incurred by the User or any other person due to any lapse in the facility owing to the above-
mentioned reasons.


The User is acting in good faith on any transaction instructions received by Axis bank;



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instructions given by use of the User's UPI PIN, Password, Passcode, OTP or Mobile Phone or
Mobile Phone Number;


There is loss of any information during processing or transmission or any unauthorized
access by any other person or breach of confidentiality.


There is any lapse or failure on the part of the service providers or any third party affecting
the said facility and that Axis bank makes no warranty as to the quality of the service
provided by any such service provider or any third party.


Axis Bank does not warrant the confidentiality or security of the messages or notifications
whether personal or otherwise transmitted through the Application in respect of the said
Facility. Axis Bank makes no warranty or representation of any kind in relation to the system
and the network or their function or performance or for any loss or damage whenever and
howsoever suffered or incurred by the User or by any person resulting from or in connection
with the Facility.


Axis Bank, its directors and employees, agent or contractors, shall not be liable for and in
respect of any loss or damage whether direct, indirect or consequential, including but not
limited to loss of revenue, profit, business, contracts, anticipated savings or goodwill, loss of
use or value of any equipment including software, whether foreseeable or not, suffered by
the User or any person howsoever arising from or relating to any delay, interruption,
suspension, resolution or error of the Bank in receiving and processing the request and in
formulating and returning responses or any failure, delay, interruption, suspension,
restriction, or error in transmission of any information or message to and from the
telecommunication equipment of the User and the network of any service provider and the
Bank's system or any breakdown, interruption, suspension or failure of the
telecommunication equipment of the User, the Bank's system or the network of any service
provider and/or any third party who provides such services as is necessary to provide the
Facility.


Notwithstanding anything in the contrary provided in this terms and conditions, Axis Bank
shall not be involved in or in any way liable to the User for any dispute between the User and
a cellular services provider or any third party service provider (whether appointed by the Bank
in that behalf or otherwise).
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                                                      WhatsApp FiledInfo04/02/20 Page 57 of 58

Any  loss incurred   by the   WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
                         Infouser due to use of the facility by any other Go
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  WhatsApp       Legal                                                    person with an express or
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implied                                                                        01
         permission of the User. Axis bank shall not be held responsible for the
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secrecy and security of the personal or account information being sent through the facility for
effecting the User's instructions.


Axis bank shall not be held liable for any loss suffered by the user due to disclosure of the
personal information to a third party by the Bank, for reasons inclusive but not limited to
participation in any telecommunication or electronic clearing network, in compliance with a
legal directive, for statistical analysis or for credit rating.


Modification / Alterations To The Facility: Axis Bank reserves the absolute discretionary right
to make any amendments in the given terms and condition at any time as it may deem fit
without any prior notice to the User. Any such amendment shall be communicated to the
User by displaying on the website http://www.axisbank.com (http://www.axisbank.com/) and
the User shall be bound by such amended terms and conditions.


Communication:


Axis Bank and the User may give notice under these terms and conditions electronically to
the mailbox of the User (which will be regarded as being in writing) or in writing by delivering
them by hand or by sending them by post to the last address given by the User and in case
of Axis Bank at its office at Service Quality Department, Axis Bank Limited, Corporate Office,
Bombay Dyeing Mills Compound,Pandurang Budhkar Marg, Worli, Mumbai - 400025, Tel:
(022) 2425 2525. In addition, Axis Bank shall also provide notice of general nature regarding
the facility and terms and conditions, which are applicable to all Users of the Facility, on the
website http://www.axisbank.com and/ or also by means the customized messages and
notifications sent to the User over his Mobile Phone Number as short messaging service
("SMS"). In addition Axis bank may also publish notices of general nature, which are
applicable to all users of the facility. Such notices will be deemed to have been served
individually to each User.


Governing law and jurisdiction:


The construction, validity and performance of these terms and conditions shall be governed
in all respects by the laws of India. The parties hereby submit to the exclusive jurisdiction of
the competent Courts at Mumbai, India which courts shall have jurisdiction in the matter to
the exclusion of any other courts, irrespective of whether such other courts have similar
https://web.archive.org/web/20190401013807/https://www.whatsapp.com/legal?eea=0                                      56/57
4/2/2020                 Case 4:19-cv-07123-PJH Document 45-8 Legal
                                                      WhatsApp FiledInfo04/02/20 Page 58 of 58

jurisdiction  in the  matter.  WHATSAPP WEBFEATURESDOWNLOADSECURITYFAQ
                          InfoAxis Bank is absolved of any liability arising,
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               with the laws of any country other than India where the facility
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Privacy Policy


The user adheres to the Privacy policy of the bank that is detailed out in
https://www.axisbank.com/privacy-policy.



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